Case 5:24-po-00015-TWD Document1 Filed 01/17/24 Page 1 of 1

8-Pl Ecoc/LZ/LL NVOS GAD

- Original CVB:Copy'’ (Hl me

SPB019Y ao|
bnited States District Court

Violation Notice (Rev. 1/2019)
Location Code | Violation Number Officer Nama (Print) Officar No.

Sagan | 9779076 lesa | ere

YOU ARE CHARGED WITH THE FOLLOWING VIOLATION

Date and Time of Offense Offense Charged CFR avuSC o State Coda
113/go73 BS 1.318 /e)4)
Place of Offense C7 Fhor hsorgtt C107)

B00 _ Bryn O- y 2
Offense Descripticn: Basis for Charge HAZMAT a

LI MEH “Desteueios ;domase of Geverret
“Preprerty

DEFENDANT INFORMATION §f Phone: ( )
Last Name Feat Name MI.
Desiderio Mack —_
Street Address
Orivers License No. COLO DL State Social Security No.

NY |

PEAdut 0 Juvenile Sex Male O Female 3h 6 I< f ‘1 oft "ee

VEHICLE = J ww: — CMV 0
Tag No. State Year | Make/Model PASS 0 [Color
+h fe f-|o- —
APPEARANCE ISREQUIRED 9 _ APPEARANCE IS OPTIONAL | .
A (1 IfBoxA ls checked, youmust |B TX Box B is checked, you must pay the
appear in court. See total collateral due or in teu of payment
instructions. appear in court. See instructions.
$ BSO.°% Forfeiture Amount
+ $30 Procassing Fee
PAY THIS AMOUNT AT : -- - ee
www.cvb.uscourts.gov 1 $ Oo qe Total Collateral Due
& YOUR COURT DATE
If no court appearance date is shown, will be natified of your a tance date by mail.)
Court Address Oate
100 S.Clinlen S},
Time
Syracuie. NT 15203

My signature signifies that | have received a copy of this violation notice. It fs not an admission of guitt. |
promise to appear for the hearing at the time and plsca instructed or in lieu of appearance pay the total
collateral due. -_

7G bs -
X Defendant Signature TNR

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REG 8 |.

*9779076*

